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                      UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ILLINOIS (CHICAGO)
______________________________________________________________________________

JEFFREY MACDONALD and                                      CASE NO. 1:21-cv-06070
TAMMY MACDONALD,
          Plaintiffs,
                                                           Judge Charles P. Kocoras
        v.

SERVIS ONE, INC. d/b/a BSI
FINANCIAL SERVICES;
STATEBRIDGE COMPANY, LLC;
and TRANS UNION LLC;
            Defendants.
______________________________________________________________________________

           JOINT MOTION TO EXTEND FACT DISCOVERY DEADLINE
______________________________________________________________________________

        Plaintiffs, Jeffrey MacDonald and Tammy MacDonald, and Defendants, Trans Union, LLC

(“Trans Union”) and Servis One, Inc. d/b/a BSI Financial Services (“BSI”) (collectively, the

“Parties”), by counsel, respectfully submit this Joint Motion To Extend Fact Discovery Deadline

(the “Motion”), and in support state:


        1.     On April 11, 2023, the Court set a fact discovery deadline of July 11, 2023. See

Doc. No. 68.

        2.     On June 21, 2023, the Parties jointly requested additional time to conduct fact

discovery due to scheduling concerns and conflicts related to proposed depositions. See Doc. No.

70.

        3.     On June 23, 2023, the Court granted same and extended the fact discovery deadline

to September 11, 2023. See Doc. No. 71.




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         4.    The Parties have continued to diligently conduct discovery during that period,

including third-party depositions, but respectfully request additional time in order to conduct the

remaining necessary depositions.

         5.    The Parties and their counsel represent that, despite good faith efforts, they have

been unable to establish collective availability for the remaining depositions prior to the current

September 11, 2023, fact discovery deadline.

         6.    The Parties further represent that extending the fact discovery deadline by forty-

five (45) days would allow the Parties the necessary time to confer and complete remaining

depositions, resolve any remaining discovery disputes, and continue settlement negotiations.

         7.    Upon completion of fact discovery, the Parties intend to request that this matter be

referred to the assigned Magistrate Judge, Hon. Jeffrey T. Gilbert, for a settlement conference prior

to conducting expert discovery and any dispositive motion practice.

         8.    The Parties state that this Motion is not made for improper delay, and no other Court

deadlines will be affected by the proposed extension.

         9.    For the foregoing reasons, the Parties respectfully move this Court to extend the

fact discovery deadline an additional forty-five (45) days, up to and including October 26, 2023,

and to strike and reset the Status Conference date currently set for September 12, 2023, at 10:00

a.m.




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                                          Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 1st day of September, 2023. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

electronic filing.

 Ernest P. Wagner, Esq.                             Stephanie R. Tatar, Esq.
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         The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 1st day of September, 2023

properly addressed as follows:

 None.


                                              /s/ Evan R. Rutter
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